

People v Weekes (2023 NY Slip Op 50982(U))



[*1]


People v Weekes (Alton)


2023 NY Slip Op 50982(U)


Decided on September 18, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on September 18, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



21-068

The People of the State of New York, Respondent,
againstAlton Weekes, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Keshia J. Espinal, J.), rendered October 11, 2019, convicting him, upon his plea of guilty, of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Keshia J. Espinal, J.), rendered October 11, 2019, affirmed.
Defendant waived his statutory speedy trial claim by failing to make a written motion to dismiss on this ground and by pleading guilty (see People v Lawrence, 64 NY2d 200, 204 [1984]; People v Courtney, 249 AD2d 485, 486 [1998]). Thus, the issue is not properly before this Court (see People v Jordan, 62 NY2d 825 [1984]; People v O'Brien, 56 NY2d 1009 [1982]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: September 18, 2023









